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United States Cc.
Southern District 4 Tes
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
GALVESTON DIVISION FEB 26 2019

AARON STRIZ, David J. Bradley, Clerk of Court
TDCJ-ID #838215,
Plaintiff,
Civil Action No. 3:18-cv-00202
Vv.

BRIAN COLLIER, et al.,
Defendants,

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PLAINTIFF'S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

 

Plaintiff, Aaron Striz, pro se, in opposition to Defendants' Motion to

Dismiss, respectfully offers the following reply;

I. DEFENDANTS' MOTION TO DISMISS PURSUANT TO RULE 12(b)(1)

Defendants have misconstrued or misrepresented Plaintiff's claims for monetary
damages. As is made explicitly clear in Plaintiff's initial complaint and subse-
quent Amended Complaint (sent to Court and Defendants via U.S. Mail on January
11, 2019), Plaintiff is not seeking monetary damages against Defendants in their
official capacities. Plaintiff is suing Defendants in both their individual and
official capacities, and it is in their individual capacities that Plaintiff is
seeking punitive damages under $1983. In their individual capacities Defendants
are not entitled to Eleventh Amendment immunity protection.

If Federal law is clearly established, the official is on notice that violation
of Federal law may lead to personal monetary liability. Hope v. Pelzer, 536 U.S.
730 (2002), U.S. v. Lanier, 520 U.S. 259 (1997). And Plaintiff may recover punitive
damages against an official in their individual capacity if the official acted
with a malicious or evil intent or in callous disregard of plaintiff's federally
protected rights. Smith v. Wade, 461 U.S. 30 (1983).

Plaintiff is not seeking monetary damages against Défendants in their official
capacities, as is being misconstrued or misrepresented by Defendants. Therefore,

dismissal of Plaintiff's complaint based on Rule 12 (b)(1) would be erroneous.

II. DEFENDANTS' MOTION TO DISMISS PURSUANT TO RULE 12(b)(6)
As cited by Defendants, Ashcroft v. Iqbal, 556 U.S. 662 (2009), ‘'To survive
a motion to dismiss, a complaint must contain sufficient factual matter. accepted
as true, to state a claim to relief that is plausible on its face’’..."'Facial plau-
sibility" exists "when the plaintiff pleads factual content that allows the court

 
 

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to draw the reasonable inference that the defendant is liable for the misconduct
alleged''...And "determining whether a complaint states a plausible claim is context-
specific, requiring the reviewing court to draw on its experience and common sense."

Again, Defendants are either misconstruing or intentionally misrepresenting
the facts outlined in Plaintiff's complaint in their attempt to have it dismissed
for failure to state a claim pursuant to Rule 12(b)(6). Plaintiff maintains that
ALL named Defendants in his original and Amended Complaint have engaged in an
ongoing pattern of behavior and abuse of discretion, since atleast July 2010,
to deprive him of due process and equal protection, thereby subjecting him to
cruel and unusual punishments, and in violation of ex post facto prohibitions,
by continuing administrative segregation with no valid reason and no legitimate
penological purpose, long before his transfer to Darrington Unit, where this pattern
of behavior was continued.

Plaintiff Striz's escape occurred on August 7, 1998, while he was a pretrial
detainee at Grimes Co. jail. After being sentenced on September 9, 1998, he was
transferred the following morning to the custody of TDCJ, whereupon his initial
classification was to MINIMUM CUSTODY. (Defendants erroneously claim that Plaintiff's
“initial classification” upon arriving at Darrington unit is relevant. When in
fact, “initial classification" is based upon an inmate's crime of conviction upon
first entering prison, not when he is transferred from one unit to another, as
Defendants try to misrepresent. Wilkerson v. Stalder , 329 F.3d 431, 435-36 (5th
Cir., 2003).)

Plaintiff Striz remained in general population until August 2001 when he

 

was "confirmed" as a member of a Security Threat Group (SIG, i.e., a prison gang),
and assigned to administrative segregation, where he has remained for nearly 18
years. Plaintiff is not, and never was, assigned to ad-seg for his pretrial escape
from county jail. The ONLY reason Defendants give for his continued indefinite
confinement to ad-seg is "confirmed STG." This fact is supported by documentation
in Plaintiff's Amended Complaint. See "Exhibit-F"', in said Amended Complaint,
State Classification Committee Review Hearing Record of August 7, 2018, which
states that the sole reason for Plaintiff's continued ad-seg confinement is «
“confirmed STG."

All named Defendants have knowingly and willfully continued to use this
false pretext of "confirmed STG" despite admitting that since atleast July 2010
Plaintiff is no longer a gang member and his "disassociation packet" is complete.
This is documented in Plaintiff's Amended Complaint, Exhibit-B (Step-One Grievance
response from Sgt. Puckett, Estelle Unit STG Officer, confirming that Plaintiff's
disassociation packet is complete), Exhibit-C(5) (email chain between Plaintiff's
 

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mother, Renee Halfin, and Robert Grant, GRAD Program Supervisor, stating that
Plaintiff's required investigation is complete, disassociation is complete, and
he is prequalified for GRAD but not eligible due to SPD Codes, and that Kristen
Gibson at State Classification is responsible for this decision.)

Defendants' reasoning for Plaintiff's continued indefinite solitary confine-
ment, as evidenced by Amended Complaint Exhibits B, C(3), C(4), and C(5), is ~. 1:
essentially, “We know you are no longer a gang member, but you are not eligible
for GRAD due to SPD Codes, therefore you will remain in seg as a confirmed gang
member until you complete the GRAD program."

In the "context-specific" facts of Plaintiff's claims, evidenced by document-

ation from Defendants, how does Defendants' absurdist circular reasoning for cont-

inued indefinite confinement to ad-seg meet any standards of common sense?

Defendants' admission that Plaintiff is no longer a gang member, while contin-
uing to use this invalid excuse for indefinite ad-seg confinement, combined with
the extreme duration of this confinement (approaching 18 years), while other similarly
situated inmates with SPD Codes have been allowed to complete GRAD and be released
from Ad-seg (namely Riley Ray Fultz, Allen Campbell, Isaac Salazar, and Taylor
Ray, among others);all these factors combined create the "extraordinary" and "exigent
circumstances" required to sustain a due process claim, as outlined by the cases
cited in Defendants’ Motion to Dismiss, namely: Plaintiff can clearly prove an

abuse of discretion where officials "willingly and intentionally"

rely on false |
information and a false pretext (SPD Codes prevent him from minimum custody required
to complete GRAD, so he must remain in ad-seg as a "confirmed gang member"), which
create the extraordinary circumstances required by Pichardo, Luken, and Scott.
Plaintiff also specifically names other similarly situated inmates who have been
treated differently than Plaintiff, as required to sustain a 14th Amendment claim.

Defendants cite Sandin v. Conner, 515 U.S. 472, (1995) to allege that Plaintiff
has no liberty interest in remaining free of administrative segregation. When
in fact, Defendants have presented a distorted interpretation of Sandin, because
at 486, Sandin states, "placement in segregation is atypical and significant when
it exceeds the punishment of similarly situated inmates in duration or degree
of restriction.'' Plaintiff has clearly demonstrated how his confinement meets
Sandin's “atypical and significant" criteria.

By any standards, 18 years of solitary confinement in ad-seg is atypical
and significant, especially when defendants acknowledge that Plaintiff has done
everything required of him and that the original reason for ad~sez placement is
no longer valid, giving rise to Plaintiff's Eighth Amendment claims that such

prolonged conditions of isolation and deprivation serve no legitimate penological

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purpose.
To this end, Plaintiff offers the following cases for the Court's consideration:
Wilkinson v. Austin, 125 S. Ct. 2384, 2393 (2005), "A liberty “interest-may
arise from the constitution itself...or it may arise from an expectation or interest
created by state laws or policies. see e.g. Wolff v McDonnell, 418 U.S. 539,
556-558." In Plaintiff Striz's case, the state has created a liberty interest
in remaining free of ad-seg by, 1-) creating a classification system to establish
criteria for ad-seg placement and this criteria provides for inmates to avoid
placement in ad-seg, and 2.) the establishment of a program (GRAD) with an expectation
that an inmate may participate in it, as a method to be released from ad~seg.
Wilkinson, at 2393, 'We have also held, however, that a liberty interest in avoiding
particular conditions of confinement may arise from state policies or regulations,
subject ¢o the important limitations set forth in Sandin."” And, at 2397, "Although
Samndin abrogated Hewitt's methodology forestablishing liberty interest, these
cases remain instructive for their discussion of the appropriate level of proced-
ural safe,uards.'' Thus, the procedural due process safeguards outlined in Hewitt v
Helms, 459 U.S. 460 (1983) and other pre-Sandin cases are still necessary and
established rights to due process.
Wilkerson v. Stalder, 329 F.3d 431, 435-36(5th Cir., 2003), "Generally,

courts are not concerned with a prisoner's initial classification based on his

 

criminal history before incarceration...[but] if the inmate's confinement in extended
lockdown [ad-seg/solitary confinement] is not the result of their initial classi-
fication, the Sandin test would be triggered.'' In Plaintiff Striz's case, his
initial classification upon entering TDCJ, based on crimes of conviction (stemming
from the pretrial escape), he was assigned to minimum custody. He was only placed
in seg later as a gang member. Thus, the Sandin test is triggered.

Upon remand, Wilkerson v. Stalder, 639 F.Supp 2d 654 (M.D.La., 2007), at
679, "Both the Supreme Court and the 5th Circuit have recognized that certain
conditions that would pass constitutional scrutiny if imposed for a short period
of time may be rendered unconstitutional if imposed for an extended period of
time. Gates v. Cook, 376 F.3d 323, 333(5th Cir, 2004), citing Hutto v. Finney,
437 U.S. 678, 686-87."" Wilkerson goes on, at 680, "A conclusion that prolonged
isolation from social and environmental stimulation increases the risk of development
of mental illness does not strike this court as rocket science..-.quoting McClary
v- Kelly, 4 F-Supp2d 195, 209(W.D.NY, 1998)" Additionally, in the context of
prison conditions, deliberate indifference may be indicated by the lack of a legiti-
mate penological justification for the condition. Hope v. Pelzer, 536 U.S. 730,
737-38(2002). Courts have held that while ad-seg is not inherently unconstitutional,
 

 

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if imposed for illegitimate reasons, it may be. And that the reason for segregation
must not only be valid at the outset, but must continue to subsist during the
period of segregation. Kelly v. Brewer, 525 F.2d 394, 400 (8th Cir, 1975).

Williams v. Hobbs, 662 F.3d 994(8th Cir, 2011), 14 year ad-seg confinement
constitutes atypical and significant hardship, and due process is not satisfied
where the review is a perfunctoryprocess and officials claim that g00d behavior
is irrelevant.

shoats v- Horn, 213 F.3d 140(3rd Cir, 2000), 8 years solitary confinement
with no prospect of immediate release sufficiently atypical and significant hardship
to create a protected liberty interest, especially considering lack of contact
with family and deprivation of educational and vocational opportunities.

Defendants allege that there is no protectable liberty interest in remaining
free of ad-seg...yet numerous courts have said that, upon meeting certain criteria
of atypical and significant hardship, there is a liberty interest. Furthermore,
if there is no protectable liberty interest in remaining free of ad-seg, why are
Defendants required to conduct periodic due process reviews to keep an inmate
in seg? Why create a method and criteria for inmates to earn their release from
ad-seg if there is no due process liberty interest in remaining free of ad-seg?

If there is no liberty interest, what's to prevent prison officials from tossing
a prisoner in ad-seg for no reason for the duration of his sentence?

Kelly v. Brewer, 525 F.2d 394(8th Cir, 1975) establishes due process review
hearings , requires that the reason for seg must not only be valid at the outset,
but must continue to subsist during period of segregation, and where inmate is
held in segregation for long or indefinite periods, due process requires that
situation be reviewed periodically and MEANINGFULLY and by relevant standards.

Ruiz v. Estelle, 503 F.Supp. 1265, 1366-67(S.D.Tx, 1980) Once an inmate
is placed in ad-seg, due process requires that his status be reviewed periodically
to determine if there is a valid reason for his continued segregation. The Constitu-
tion prohibits the imposition of ad-seg in an arbitrary and capricious manner.

"It goes without saying that a prison warden may not constitutionally put an inmate
in ad-seg...simply because he dislikes the inmate or desires to punish him for
past misconduct .”

Defendants admit that the original reason for Plaintiff's ad-seg placement
is no longer valid, yet they continue to knowingly and willfully use that invalid
excuse for indefinite confinement simply because Plaintiff is not eligible for
the GRAD program due to SPD Codes..-which are completely unrelated to why he was
placed in ad-seg 18 years ago. By doing this, Defendants have rendered these

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due process review hearings to be a meaningless, perfunctory farce, devoid of
substantive due process.

Furthermore, by using the pretext of '"'SPD Codes" to make him ineligible
for GRAD and perpetuate this farce of ''Confirmed STG," Defendants are now punishing
Plaintiff for past misconduct (the pretrial escape from county jail) that he was
never punished for immediately after it occurred, or when he entered TDCJ more
than 20 years ago. TDCJ created SPD Codes in 2001 (in the wake of the Texas-7
fiasco), after Plaintiff was assigned to ad-seg as a confirmed gang member, then
officials applied these SPD Codes retroactively in violation of ex post facto
prohibitions. Koch v. Lewis, 96 F.Supp2d 949, 955(2000), "Due process contains

a substantive component that bars certain arbitrary, wrongful governmental actions

regardless of the fairness of the procedures used to implement them. citing Daniels

v. Williams, 474 U.S. 327, 327-28(1986)."" And, Koch, at 959, citing Weaver v.
Graham, 450 U.S. 24(1981), requirements that, 1.) a law mist be retrospective,

that is, it must apply to events occurring before its enactment, and 2.) it must
disadvantage the offender affected by it. ‘Thus, a statute or administrative regu-
lation may be barred as retrospective even if it alters punitive conditions outside
the sentence. Weaver at 32. ‘The Ex Post Facto Clause prohibits prison officials
from imposing new or amended regulations which are themselves "punitive conditions"
of confinement. Occasionally a regulation may be so punitive in effect as to
prevent a court from legitimately viewing it as regulatory or civil in nature,
despite the rulemaker's intent. Russell v. Gregoire, 124 F.3d 1029, 1086(9th

Cir, 1997), citing U.S. v. Ursery, 518 U.S. 267(199%).

Plaintiff is not, nor has he ever been, in ad-sez due to SPD Codes or the
escape that those SPD Codes are based on. Nor has he ever received due process
placement hearings or State Classification Committee reviews to be held in seg
for those SPD Codes, or as an escape risk, or any other reason than "confirmed
STG."

In their motion, Defendants conflate the purpose or authority of separate
reviews. Unit Classification Committees make unit-level decisions, housing assign-
ments, and recommendations to State Classification Committee regarding inmates
in ad-seg. State Classification Committee reviews are every 6 months to review
the reason for ad-seg placement or further confinement. The SPD Review Committee
has no authority to determine an inmate's classification status; the sole purpose
of SPD Review Committee is to determine whether or not a:reason exists for SPD

Codes to remain active, or to deactivate the SPD Codes. (See TDCJ Classification
Plan and Ad-Sez Plan), But often, as in Plaintiff's case, the same officials sit
 

 

 

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on all of these committees. And in Plaintiff's case, the SPDRC decision reinforces
the UCC and SCC circular reasoning to keep Plaintiff in ad-seg for something they
know and admit to be invalid. Likewise, Defendants admit that there is no reason
not to deactivate the SPD Codes after 20 years of good behavior, yet they refuse

to do so. Then these same Defendants turn around and sit on UCC amd SCC committees
and admit that plaintiff is not a gang member, but decide that he must remain

in seg as one because he is not eligible for the GRAD Progran due to SPD Codes...the
same SPD Codes they admit should be deactivated.

Plaintiff does not deny that he has received innumerable classification
reviews during his nearly 18 years in ad-seg. Plaintiff's contention is that
these hearings are a meaningless, perfunctory farce, devoid of substantive due
process because defendants knowingly use an invalid pretext for continued indef-
inite confinement.

Defendants motion repeatedly circles back to the false claim that Plaintiff
"alleges no facts that demonstrate that administrative segregation is an inappro-
priate classification for an inmate with escape or assaultive precautions or that
Defendants were prohibited from considering Plaintiff's SPD Codes when assigning
housing."

In fact, Plaintiff asserts, and can prove, that upon entering TDCJ in September
1998, only a month after his pretrial escape from county jail, his initial classi-
fication was to minimum custody. At no time has he ever been assigned to ad-seg
for escape or assaultive precautions, nor is that the “official reason" why he
continues to be housed in ad-seg. Nor has Plaintiff committed any serious violations
to warrant continued ad-seg confinement. Further, it seems that Defendants, in
their Motion to Dismiss, have inadvertently admitted to retrospective application,
20 years ex post facto, and to punishing plaintiff now for something he wasn't
punished for upon entering TDCJ a month after that incident ocurred at county
jail. Why are they now claiming that his SPD Codes are the basis of his classifica-
tion to ad-seg, or that those are now being considered in their decision? If
Plaintiff wasn't considered a security risk 20 years ago, why now? These circum-
stances seem rather extraordinary (and inexplicable), do they not?

This combination of 5th, 8th, and 14th Amendment violations, as well as
Ex Post Facto violations, do, in fact, constitute exigent and extraordinary circum-
stances necessary to state a claim for atypical and significant deprivations.

For all of these reasons, Defendants' Motion to Dismiss pursuant to Rule
12(b)(6), failure to state a claim for a violation of a protected federal or consti-

tutional right, should be denied.

 

 
 

 

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III. DEFENDANTS' CLAIMS THAT PLAINTIFF IS NOT ENTITLED TO INJUNCTIVE RELIEF

Lewis v. Casey, 518 U.S. 343 (1996) requires a prisoner must show an actual
or imminent injury, and in this context, "injury" is not limited to physical damage
to Plaintiff's body, but the continuous, ongoing psychological harm caused by
prolonged isolation and deprivation of basic human psychological needs with no
legitimate penological interest. The severely detrimental physical and psychological
effects of long term solitary confinement and enforced inactivity are well established
and recognized by courts. Wilkerson v. Stalder, 639 F.Supp2d 654 (M.D.La, 2007),
Ruiz v. Johnson, 37 F.Supp2d 855, 914(S.D.Tx, 1999), Koch v. Lewis, 216 F.Supp2d
994(D.Ariz, 2001), U.S. v- Noriega, 40 F.Supp2d 1378(S.D.Fla, 1999), Ruiz v. Estelle,
503 F.Supp 1265(S.D.Tx, 1980), Wilkinson v. Austin, 125 S.Ct. 2384(2005), McClary v-
Kelly, 4 F.Supp2d 195(W.D-NY, 1998), and subseq. at McClary v Coughlin, 87 F.Supp2d
205(W-D.NY, 2000).
Plaintiff meets all four elements for a party seeking an injunction:

 

1.) Based on facts, documented evidence, am established caselaw, Plaintiff
is likely to prevail on the merits and show that Defendents have, and

ui are continuing to, violate Plaintiff's clearly established rights,

2.) Every day of continued solitary confinement contributes to the enduring
harmful effects of long term solitary confinement, isolation, and depriv-
ation of basic human needs. Wilkerson v. Stalder, 639 F.Supp2d at
684, "With each passing day, [the effects of solitary confinement ]
are exponentially increased, just as surely as a single drop of water
repeated endlessly will eventually bore through the hardest of stones."

3.) The threatened injury to Plaintiff is very real, well established,

ard and much greater than any potential harm to Defendants, in that there
ig no potential harm to Defendants. Plaintiff's initial classification |
upon entering TDCJ was to minumum custody, therefore, how can Defendants
honestly argue that it will harm them now, 20 years later, when it
didn't harm them 20 years ago?

4.) If it wasn't a disservice to public interest to assign plaintiff to
Minimum custody upon entering TDCJ, how would it be a disservice 20
years later, when Plaintiff has 20 years of good behavior? Where is
the disservice to public interest in allowing Plaintiff, who is approaching
parole eligibility, access to rehabilitative, educational, and vocational
opportunities and social reintegration? It seems more of a disservice
to public interest to keep an inmate in solitary confinement for decades,

only to eventually release him into the public with no rehabilitation
 

 

 

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or education...unless...are Defendants truly going to argue that the
purpose of incarceration isn't to educate and rehabilitate prisoners

so that they are productive members of society upon release?

For these reasons, Defendants’ Motion to Dismiss should be denied, and

Plaintiff's request for injunctive relief should be granted.

IV. DEFENDANTS' CLAIMS THAT DAMAGES AGAINST THEM ARE BARRED BY THE
PLRA ABSENT SHOWING OF PHYSICAL INJURY

Once again, Defendants are either misconstruing or intentionally misrepresenting
Plaintiff's claims. The PLRA prohibits recovery of COMPENSATORY damages absent
showing of physical injury. However, the PLRA does. not prohibit the recovery
of NOMINAL AND PUNITIVE damages, which is what Plaintiff specifically requests
in both his original and Amended Complaints.

The PLRA did not intend to bar recovery for all forms of relief, and absent
physical injury, plaintiffs may recover nominal and pumitive damages in addition
to injunctive and declatory relief. Royal v. Kautzky, 375 F.3d 720 (8th Cir,

2004), Sigger-el v. Barlow, 433 F.Supp2d 811 (E.D.Mich, 2006), Williams v. Hobbs,
662 F.3d 994 (8th Cir, 2011), McClary v. Coughlin, 87 F.Supp2d 205 (W.D.NY, 2000)

Also, punitive damages may be assessed in a §1983 action when a "defendant's

 

conduct is shown to be motivated by evil motive or intent, or when it involves
reckless or callous indifference to the federally protected rights of others."
Smith v. Wade, 461 U.S. 30 (1983).
As Defendants have exhibited, at the very least, callous indifference to
Plaintiff's federally protected rights, Defendants are liable for punitive and
- nominal damages. Therefore, Defendants’ Motion to Dismiss based on an erroneous
assertion that damages are barred by the PLRA, must be denied.

V.  DEFENDANIS ARE NOT ENTITLED TO QUALIFIED IMMUNITY

As Defendants so ably aver, qualified immunity only "affords protection
against individual liability for civil damages to officials insofar as their conduct
does not violate clearly established statutory or constitutional rights of which

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a reasonable person would have known."" Harlow v. Fitzgerald, 457 U.S. 800, 818(1982).
Defendants' motion also affirms the two-part test wherein, 1.) the court must
ascertain whether the plaintiff has sufficiently asserted the violation of a consti-
tutional right, and 2.) the court must then determine whether that right had been
clearly established so that a reasonable official in the defendant's situation

would have understood that his conduct violated that right.

_In the foregoing paragraphs of Plaintiff's Opposition to Defendants’ Motion
 

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to Dismiss, Plaintiff has satisfied the first prong of this test by demonstrating
clearly established constitutional rights to due process under the 5th Amendment,
8th Amendment prohibitions against cruel and unusual punishments of long term
solitary confinement with no legitimate peological purpose, 14th Amendment Equal
Protection, and prohibitions against Ex Post Facto punishments under article 1,
§10, of the United States Constitution.

The second prong of this test is also satisfied in that any reasonable official
in Defendants’ situation would have understood that their conduct violated those
rights. Beginning with the Ruiz series of landmark Texas prison reform litigation,
the duties of officials and rights of prisoners have been clearly established
in Texas prisons. Nor can Defendants claim a lack of knowledge, or "take solace
in ostrichism."" Ruiz v. Estelle, 503 F.Supp 1265, 1384-85(S.D.Tx, 1980). And
to this extent, since atleast 2010, Plaintiff has repeatedly informed Defendants
of their illezal conduct and cited caselaw asserting his rights through written
and verbal statements to classification committees and through the grievance
process. (Several of these are attached to Plaintiff's original and amended
complaints. )

Furthermore, Wilkerson v-. Stalder, 639 F.Supp2d 654 (M.D.La, 2007) addresses

this specific issue of qualified immunity in the context of due process and cruel

 

and unusual conditions arising from decades of solitary confinement with no legiti-
mate penological purpose, andithe "evolving standards of decency that mark the progress
of a maturing society."' at 677, citing Farmer v. Brennan, 511 U.S. 825, at 833-
34 (1994). Amd at 680, "deliberate indifference may be indicated by the lack
of a legitimate penological justification for the condition," quoting Hope v.
Pelzer, 536 U.S. 730, 737-38 (2002).

Wilkerson, at 683, in discussion of qualified immunity, "The court in Hope
went on to explain that even in novel factual situations, officials can still
be on notice that their conduct violates established law. That is, there does
not have to be any previous case that is ‘fundamentally similar' or even 'materially
similar' factually. Hope v- Pelzer, 536 U.S. at 741, referencing U.S. v. Lanier,
520 U.S. 259 (1997). Instead, the inquiry courts are instructed to make ‘is whether
the state of the law [at the time of the challenged conduct] gave [prison officials]
fair warning that their alleged treatment of [plaintiff] was unconstitutional, '
Hope, at 741.

Wilkerson's conclusion on the question of qualified immunity, at 685, “It
is clear that in 1999, any reasonable official would know that continuing to hold

inmates in isolation, in a solitary cell for 23 hours a day for three decades

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as a punitive measure without any current, legitimate penological justification
is constitutionally infirm. Whether or not this evidence prevails at trial is
for a jury to decide, but for the purposes of this motion, it is sufficient to
overcome defendants’ motion with regard to qualified immunity."

Finally, the IDCJ Classification Plan states on page-1, that "Classification
strives to achieve the following goals...#8.) To maintain a dynamic and flexible
classification system so that changes in legislation, the judicial interpretation
of legislative mandates...can be incorporated smoothly without creating disharmony
in prison operations." This would seem to imply that defendants are aware of
their duty to keep up with and abide by "judicial interpretations of legislative
mandates" that are clearly established in Texas since at least the Ruiz rulings
of 1980 and thereafter, and in the 5th Circuit since atleast the Wilkerson
proceedings beginning in 2000.

To that point, Defendants cannot legitimately claim that Plaintiff's rights
are not clearly established, or that any reasonable official wouldn't have possessed
the common sense to understand that their conduct violated (those rights.

For these reasons, Defendants are not entitled to qualified immunity and
their Motion to Dismiss should be denied.

VI. CONCLUSION

For all the reasons outlined above in Plaintiff's Opposition to Defendants'
Motion to Dismiss, Plaintiff respectfully requests that Defendants’ Motion to
Dismiss be denied on ALL counts.

Furthermore, as Defendants have failed to respond to all claims in Plaintiff's
Complaint, as was ordered by the Court, Plaintiff respectfully reasserts and preserves
all claims therein, namely; 1st Amendment retalliation, 5th Anendment Due Process,
8th Amendment prohibition of cruel and unusual punishments, 14th Amendment Equal
Protection, and violations of United States Constitution, article 1, §10, prohibition

of Ex Post Facto punishments.

Respectfully submitted, this, the 25th day of February, 2019... -:,

Aaron Striz, pro se

TDCJ-ID#838215

Darrington Unit

59 Darrington Rd.

Rosharon, TX 77583
11.

 
 

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CERTIFICATE OF SERVICE
I, Aaron Striz, pro se, certify that a true and correct copy of the foregoing
Opposition to: Defendants' Motion to Dismiss, has been served by placing same in

the U.S. Mail, first class postage paid, on February 25, 2019, addressed to :
Jeanine M. Coggeshall

Assistant Attorney General, Law Enforcement Defense Division,

P.O. Box 12548, Capitol Station

Austin, TX 78711-2548
Aaron Striz, pro se

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